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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

 CURTIS LEVAR WELLS, JR.,

      Plaintiff,

 v.                                                 Case No. 1:22-cv-00140-MSN-IDD

 JAVIER FUENTES, et al.,

      Defendants.

                    DEFENDANTS’ BRIEF IN SUPPORT OF MOTION FOR
                     LEAVE TO FILE A VIDEO WITH AUDIO EXHIBIT

          Defendants Javier Fuentes, Scott Wanek, Ashley Barnickle, Lauren Lugasi, Kimberly

 Soules, Austin Kline And John Vanak (“Defendant ACPD Officers”), by counsel, state as

 follows in support of their Motion for Leave to File a Video with Audio Exhibit:

          On October 6, 2022, the Defendant ACPD Officers filed their Motions to Dismiss and

 Brief in Support [ECF Docs. 59, 60, 61, 62, 63 and 64]. As part of the their Briefs in Support of

 Motion to Dismiss, the Defendant ACPD Officers rely on video with audio evidence obtained

 from the February 9, 2020 events, which, in part, are the subject of this lawsuit.

          This video with audio is referenced as Exhibit 1 in the Defendant ACPD Officers’ Briefs

 in Support of Motion to Dismiss.

          The Defendant ACPD Officers understand that this Court must grant it leave to

 physically file the exhibit on a flash drive, because the file is too large for the Court’s ECF

 system. A flash drive containing the video with audio will be mailed to the Court when and if

 the attached Order is entered.
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        For all of the foregoing reasons, the Defendant ACPD Officers, by counsel, respectfully

 request that the Court grant them leave to physically file with the Court a flash drive containing

 the foregoing audio evidence to be considered in support of their Motion to Dismiss.



                                                       JAVIER FUENTES, SCOTT WANEK,
                                                       ASHLEY BARNICKLE, LAUREN
                                                       LUGASI, KIMBERLY SOULES,
                                                       AUSTIN KLINE AND JOHN VANAK

                                                       By Counsel



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                                      CERTIFICATE

         I hereby certify that on the 6th day of October, 2022, I electronically filed the foregoing
 with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
 to the following:

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